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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.: 0:17-cv-61734-RNS

   PHILIP L. FRYBERGH,

                   Plaintiff,
   vs.

   ALLY FINANCIAL INC.,

              Defendant.
  ________________________________________/

                                 NOTICE OF PENDING SETTLEMENT

         Plaintiff, PHILIP L. FRYBERGH, by and through undersigned counsel, hereby submits
  this Notice of Pending Settlement and states that the parties have reached a verbal settlement with
  regard to this case and are presently drafting, finalizing, and executing the settlement and dismissal
  documents. The parties expect to file the appropriate dismissal documents within thirty (30) days.


                                                                Respectfully Submitted,

                                                     By:        /s/ Yechezkel Rodal
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                                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
  on March 21, 2018 with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties identified on the Service
  List below either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
  other authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.



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